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            IN THE UNITED STATES DISTRICT COURT FOR THE
                     SOUTHERN DISTRICT OF GEORGIA
                           AUGUSTA DIVISION


                                    *

THE TWELFTH CONGRESSIONAL           *
DISTRICT REPUBLICAN COMMITTEE;      *
BRIAN W. TUCKER, an individual      *
voter and resident of Richmond      *
Coiinty; CATHY A. LATHAM, a         *
2020 candidate for                  *
Presidential Elector; and           *
EDWARD T. METZ, a 2020              *
candidate for Presidential          *
Elector,                            *              CV 120-180
                                    *

     Plaintiffs,                    *
                                    *

            V.                      *

                                    *

BRADFORD J. RAFFENSPERGER, in       *
his official capacity as            ★
Secretary of State of Georgia;      *
REBECCA N. SULLIVAN, DAVID J.       *
WORLEY, MATTHEW MASHBURN, and       *
ANH LEE, in their official          *
capacities as Members of the        *
Georgia State Election Board;       *
and TIM MCFALLS, MARCIA BROWN,      *
SHERRY T. BARNES, TERENCE           *
DICKS, and BOB FINNEGAN, in         *
their official capacities as        *
Members of the Richmond County      *
Board of Elections,                 *
                                    *

     Defendants.                    ★
                                    *

DEMOCRATIC PARTY OF GEORGIA         *
and DSCC,                           *
                                    *

     Intervenor-Defendants.         *




                               ORDER
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     Plaintiffs having filed a Complaint (Doc. 1) and "Emergency

Motion for Temporary Restraining Order and Preliminary Injunction"

(Doc. 2), the Court ORDERS the following:

     (1)   Plaintiffs shall perfect service on Defendants either by

           personal service or waiver in accordance with Federal

           Rule of Civil Procedure 4 by 9:00 P.M., EST, TODAY,

           DECEMBER 14, 2020.

     (2)   Pursuant   to Rule 65(a)(1),     Plaintiffs'     Complaint   and

           "Emergency Motion for Temporary Restraining Order and

           Preliminary Injunction" are consolidated and shall come

           before the Court for hearing on THURSDAY, DECEMBER 17,

           2020, at 10:00 A.M., EST via Microsoft TEAMS            Video.

           Public access shall be by telephone conferencing only.

           The following general rules shall govern participation

           in the hearing:

           a. An invitation email with a Microsoft TEAMS link for
             the VTC hearing will be sent to each party and
             participating counsel at an email address provided to
             the undersigned's Courtroom Deputy Clerk.
           b. Recipients of the hearing link shall not provide the
             information contained in the email to anyone else
             without first seeking and obtaining the permission of
             the Court.
           c. Members of the public who would like to attend this
              hearing may do so by dialing the Court's Piiblic
             Teleconference     line.   Information   for   dialing     into
             this hearing via the Public Teleconference line will
             be provided in a separate Notice of Hearing to be
             filed in the case.
           d. Parties and counsel are encouraged to participate in
              a TEST Microsoft TEAMS VTC call prior to the hearing
              by contacting the Court's Department of Computer
              Services at 912-650-4201 to test connectivity and
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         troubleshoot any questions or problems you may have
         in advance of the hearing.
      e. Parties and counsel shall connect to the hearing at
         least 15 minutes prior to hearing start to ensure
         everyone is connected.
      f. Should any party intend to call any individual as a
         witness during the hearing held by electronic means,
         counsel shall bear the responsibility of contacting
         that individual and making arrangements for the
         witness to attend the hearing via video conference.
      g. Should any party require the subpoena power of the
         Court to secure any witness's attendance, counsel
         shall notify the undersigned's Courtroom Deputy Clerk
         well in advance of the hearing and in no event later
         than 4:00 P.M., EST, on TUESDAY, DECEMBER 15, 2020.
      h. Should any party seek to offer any exhibits during
         the hearing, counsel shall provide the evidence in
         electronic format to the Undersigned's Courtroom
         Deputy Clerk no later than 12:00 P.M., EST, on
         WEDNESDAY, DECEMBER 16, 2020 and arrange for the
         submission of evidence via electronic means.

(3)   Defendants and Intervenor-Defendants shall file their

      briefs   in    opposition    to   the    claims   in    Plaintiffs'

      Complaint      and     ''Emergency      Motion    for     Temporary

      Restraining Order and Preliminary Injunction" and any

      other relevant motions by TUESDAY, DECEMEBER 15, 2020 at

      9:00   P.M.,    EST.     Plaintiffs'      reply   briefs    or   any

      responses to a motion to dismiss or any other motions

      filed by Defendants and Intervenor-Defendants will be

      due on WEDNESDAY, DECEMBER 16, 2020 by 3:00 P.M., EST.
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    ORDER ENTERED at Augusta, Georgia, this             day of December,

2020.




                                        )AL Hi^L, CHIEF JUDGE
                                 UNIT^ STATES DISTRICT COURT
                                      lERN DISTRICT OF GEORGIA
